Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 1 of 14




    EXHIBIT 7
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 2 of 14




                                                                          USAO_00013578
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 3 of 14




                                                                          USAO_00013579
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 4 of 14
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 5 of 14




                                                                          USAO_00013654
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 6 of 14




                                                                          USAO_00013655
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 7 of 14
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 8 of 14




                                                                          USAO_00013704
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 9 of 14




                                                                          USAO_00013705
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 10 of 14




                                                                           USAO_00013706
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 11 of 14




                                                                           USAO_00013707
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 12 of 14




                                                                           USAO_00013708
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 13 of 14




                                                                           USAO_00013698
Case 1:23-cr-00016-JHR   Document 177-7   Filed 11/12/24   Page 14 of 14
